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DEPOSITION EXCERPTS
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UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
NATALIE REESER,

Plaintiff,
CASE NO:2:14-cv-11916
vs.

HENRY FORD HOSPITAL,

Defendant.

Volume I of the deposition of NATALIE
REESER, taken before me, Lauri A. Sheldon, CSR 4045, RPR,
on March 23, 2015, at 39500 High Pointe Boulevard, Suite
350, Novi, Michigan, commencing at or about 10:07 a.m.

APPEARANCES:

MILLER COHEN, P.L.C.

BY: KEITH D. FLYNN, ESQUIRE

600 W. Lafayette Boulevard, 4th Floor
Detroit, Michigan 48226

313-964-4454

Appearing on behalf of the Plaintiff.

VARNUM, LBP

BY: TERRENCEHE J. MIGLIO

39500 High Pointe Boulevard, Suite 350
Novi, Michigan 48375

248-567-7400

tjmiglio@varnumlaw.com

Appearing on behalf of the Defendant.

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1 A I did.

2 Q So you saw this social worker for, you said, a year or

3 two?

4 A Yes.

5 Q Ts that clinic still there?

6 A I have no clue.

7 Q And then what caused you to stop seeing the social

8 worker?

9 A I probably didn't have insurance anymore.

19 Q Where were you working at the time?

LI A I wasn't working. I was going to college. Well, I was
12 working probably for a gym at the time during college. I
13 don't remember the name of the gym. That was early --
14 early when I was a freshman, so.

15 Q What gym was it, do you remember?

16 A ff have no clue. It's net there anymore. It was in

17 Rochester Hills. They now have built a big fitness

18 center over it.

13 0 So since seeing this psychologist, social worker, have
20 you seen anybody else for any depression, anxiety, any
21 mental or emotional conditions?

22 A Yes. I went to my personal primary care doctor, Dr.
23 Kahnamoui, after this incident with Henry Ford, because
24 my anxiety came back, my panic attacks came back, I
25 needed medicine. This has put so much stress on me that

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I started having flashbacks of all these -- Just it
wasn't a good situation. It caused anxiety.

All right. So tell me then, again now, when did you
start treating with the dector for depression or anxiety?
I went to see him after my -- I was walked out the door
by security on my last day. I went to see him soon after
that, because the medicine wasn't working, it made me
very depressed, it made me very anxious, very scared, I
didn't know what was going on, I didn't know why it was
happening to me, and I needed help.

So my question is, though, when did Dr. Kahnamoui start
treating you for anxiety or depression or any mental or
emotional problems?

Soon after I was released from Henry Ford.

And do you remember ~~ When was the last time you saw
that doctor?

I just saw him in December or November, because I had a
nervous breakdown, and he took me off work for a week and
upped my medicine.

What do you mean you had a nervous breakdown?

Ali the stress that this lawsuit has caused me has been
tremendous.

Okay. And it hasn't had anything to do with your breakup
or your -—

No. It all has to do with --

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1 Q ~- fiance dropping you?

2 A -- me going to the State and what Fiona did to me.

3 Q So are you saying that prior to leaving the -~ Strike

4 that. Prior to leaving the empioyment of Henry Ford

5 Health System you weren't being treated by Dr. Kahnamoui
6 for any anxiety for depression. |
7 A Just my regular Paxil pills that I've been taking for 10

8 years, but he had to up them -- up it because the

9 depression was huge and the anxiety got worse. Like I

10 was having panic attacks on a daily basis to the point

11 where £ almost went agoraphobic and couldn't leave the

12 house, so.

13 Qo And how often before that, your termination from Henry

14 Ford, were you taking Paxil?

15 A I took Paxil every day since 2001. However, after the

16 termination at Henry Ford it needed to be upped and

17 adjusted, and now I take 50 milligrams of Paxil instead

18 of 20 milligrams of Paxil, and I also take Xanax to calm
19 my nerves for the anxiety and panic attacks this lawsuit
20 has caused me.
21 Q And what do you mean this lawsuit has caused you?
22 A The stress of knowing I have to testify about my rape and
23 you're going to ask me questions about that has caused
24 tremendous stress, the questions that you want to ask me
20 about, just this whole thing. fF mean it's caused a lot

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1 Clinton Township site.
2 A Martha Wiseheart let me leave for a TB test. She let me
3 leave for cashing a check, the flood check. She let me
4 leave to go to the bank one day and cash another check.
5 She let me leave and actually take a lunch one day.
6 Q Any other occasions?
7 A I can't recall the last one.

8 Q All right. When did she let you leave to go to a TB

9 test?

10 A T'm not sure when that was.

11 Q And how did she give you authorization? Did she tell you
12 verbally or --

13 A Yes.

14 Q -- she said that, "Just go ahead and leave for the TB

LS test."

16 A "Just run over there. Go get your TB. f'11 watch the

17 desk."

18 Q Okay. Was that on the day that you were suspended? Is
19 that the incident?

20 A No. No.

2l 0 Oh, there was another TB test before that -- or there was
22 a TB test that you were given authorization to leave

23 before that, right? Is that what you're saying?

24 A Nope. Only one TB test.

25 Q Okay. And you're saying Martha gave you authorization.

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25

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A No.
Q And you say that was during 2012 or during 2013?
A Correct.
Q Well, which? Do you know?
A T don't recall when I got the check.
Q Well, when was the place flooded?
A It was flooded in 2012, but the whatever, lawsuit,

oO F © FF DO PF

the . . . and when there's multiple people or whatever, I
don't know. It was at the end of that lawsuit that we --
Okay. And then you said you went to a bank a second time
and Martha gave you permission. When was that, the trip
to the bank the second time?

I believe in 2013.

And what was that for?

She just tet me have a lunch break finally.

Did somebody cover?

No.

Do you know whether Fiona gave you authorization to go to
the bank that second time?

I do not recall.

Do you know whether Fiona was consulted to give you
authorization to go to cash the flood check?

I do not know.

Okay. And then you said you -- the fourth occasion was

you left to go to lunch and Martha gave you permission.

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1 A December 30th, 2011.

2 Q Okay. And when was the unemployment hearing?

3 A These are probably all documents that I printed off to

4 send to Jill Hood.

3 Q When was the unemployment hearing?

6 A I have no clue.

7 Q And why were you informing Jill Hood about this?

8 A I was informing Jill Hood about that because I was given
9 a direct order from Fiona to testify against this person
10 so they would not receive compensation from Henry Ford
li Medical Laboratories. Unemployment.

12 Q Okay. And why were you telling Jili Hood this?

13 A Because that's part of the harassment that Fiona gave me
14 after I reported the State about lunches and breaks.

15 Q Exactly when did you report to the State that you were
16 not paid for your lunches?

17 A The beginning of January 2015 =~ or 2014 I cailed and
18 spoke with the Fair Labor Standards Acts, whatever

19 department. They told me I absolutely had a case, they
20 were sending me the paperwork out in the mail, and they
21 expected me to fill it out and send it back in.

22 QO So my question, as it was the first time, when did you
23 file a complaint with the State?

24 A In January.

25 Q Do you recall the date?

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page?
A Yes. Also, on this document the lunches doesn't ask to

0

mB OO

be authorized. Just wanted to point that out.
Thank you.
You're welcome,
(Exhibit 39 marked.)
{Continuing by Mr. Miglio): Let me show you what's been
marked as Exhibit 39.
Okay.
So the first email of this chain is on the second page,
and it's an email that you sent to Fiona Bork on October
23rd, 2012, at 11:11 a.m. Do I have that right?
Yes.
Okay. And you were asking Fiona what?
If IT could take a 30-minute lunch break.
And put a note on the door.
Most likely Martha Wiseheart was not in the office that
day.
so you --
Otherwise, I would have asked her.
So you were asking her, Fiona, whether you could take a
30-minute lunch and put a note on the door, correct?
MR. FLYNN: Objection. The document speaks --
MR. MIGLIO: Is that right?

MR. FLYNN: The document speaks for itself, and

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25

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Oo fF oO Ff

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evaluations before the 2013, correct?

Correcter,

Unsatisfactory is a two?

Yep.

So then you say here in the meal breaks, the second
paragraph, "I was told that any down" -- or first
paragraph. "I was told any down time would be considered
as lunch. However, I recently learned that the Fair
Labor Standards Act, FLSA, states that hourly employees
are required to work more than 40 hours a week are to be
compensated for those hours under a term called engaged
to work." See that?

Yes.

Who and how did you learn about the term "engaged to
work" and that that violated the Fair Labor Standards
Act?

Dr. Thakur had come to my office to let me know that he
wasn't happy about seeing me not take lunches. He's a
new doctor in the building. And when I let him know that
my down time was lunches, that I do get a lunch, he said,
"Down time is not lunch and you need to call the State."
So when I calied the State in January, they informed me
down time is not lunch and that's called engaged te work
and that's where I learned those terms.

And you learned those from Dr.Thakur.

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1 A No. I learned about the Fair Labors Standard Act from
2 Dr.Thakur. He said it was against the law. He didn't
3 state the law that he -- that I just stated. I called
4 the State. The State informed me of those two.

5 Q What did Dr.Thakur tell you about the law or the Fair

6 Labor Standards Act?

7 A He told me that down time is not considered a lunch.
8 Q Okay. When did he tell you that?

9 A In January.

10 Q Is that something you spoke to him about?

11 A He came in my office.

12 Q Came in your office and just said, "Hey, I'm upset
13 because you're not taking a lunch break"?

14 A Correct.

15 Q All right. What's Dr.Thackur's first name?

16 A I don't know. He's in the same building at Clinton

17 Township PSC.

18 Q So then in the second paragraph it says, "Please know

19 it's increasingly difficult to work busy days without any
20 opportunity for a meal break, and some days even more

21 difficult because management and sales personnel bring in
22 food for lunch, take meal breaks, and eat in front of

23 me."

24 A Always.

25 Q Okay. So what was the issue here? Was it that you

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1 she basically gave me a hug, she told me she was so sorry
2 that I was going through that, and she also told me to go
3 to HR again.

4 Q Okay. And then what happened?

5 A And then I went back to my desk. I sent this email. I

6 proceeded to get my purse. I went back to the break room
7 where my purse and my coat and stuff was. I picked that
8 up. I looked in the room. Waved to Martha. Martha

9 waved to me. I walked out.

10 Qo Where did you go?

11 A I went and sat in my car for 30 minutes and cried.

12 9 Okay. And who was taking care of the patients while you
13 were doing that?

14 There was the sign on the door.

Okay. What sign was that?
The sign that's allowed to use when you take a lunch.
What did the sign say?

That I'll be returning in 30 minutes.

bh
oO
oO Ff 0 fF OO F DO PF

19 Okay. Is that like a handwritten sign or something?

20 No. The exact sign that you have in your exhibit.

21 Okay. So did you get Fiona's permission to leave the

22 site on that day?

23 A Fiona never told me I could not go to lunch on that day,
24 no.

25 Qo Did you get Fiona's permission to leave the site on that

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1 were you subjected to? We know about the evaluation -- I
2 guess we know about the evaluation. What other -—- And
3 you said one time she showed there and she was humming
4 loudly and shredding paper. What other harassment?
5 A She called me at home. She called me at work, and you'll
6 hear the message where she's harassing me for a good 16
7 minutes at work, when I'm on the job, for her own
8 personal reason.
g QO That's --
10 A There was a lot of -- She had a personal vendetta against
11 me because I went to the State of Michigan on her.

12 Qo Well, what was the issue -- Well, first of all, when did

13 you go to the State of Michigan? Let's get that down.
14 A Early January was my first contact with the State of
15 Michigan.

16 Q BRarly January. Okay. And did she know about that in

17 early January?

18 A I told her I was going to the State.

19 Q When did you do that?

20 A Sometime in February.

21 Q Okay. So she didn't know about it in early January, so
22 what else did you receive in the way of harassment in

23 January?

24 A Changing of my site, sending me .. . There's so much

25 that I've read and gone over today. I'm getting confused

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DEPOSITION OF JILL HOOD
REESER v HENRY FORD HOSPITAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
NATALIE REESER,
Plaintiff,
Vv Case No. 2:14-cv-11916-GCS=-MdH

Hon. George Caram Steen
HENRY FORD HOSPITAL,

Defendant.
/

DEPOSITION OF JILL HOOD
Taken by the Plaintiff on the 5th day of May, 2015,
at the office of Keith D. Flynn, 600 W. Lafayette Blvd.,
Detroit, Michigan at 10:00 a.m.
APPEARANCES:

For the Plaintiff: MR. KEITH D. FLYNN (P74192)
Miller Cohen, P.L.C.
600 W. Lafayette Bivd., 4th Floor
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313.964.4454

For the Defendant: MR. TERRANCE J. MIGLIO (P30541)
MS. BARBARA E. BUCHANAN (P55064)
Varnum LLP
39500 High Pointe Blvd., Suite 350
Novi, Michigan 48375
248.567.7828
Also Present: NATALIE REESER, via telephone
Reported by: TAMARA A. O'CONNOR
CSMR 2656, CER 2656

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TAMARA A. O'CONNOR
248.882.1331

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DEPOSITION OF JILL HOOD
REESER v HENRY FORD HOSPITAL

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1 Q Oh. Well, after the January 20th meeting— 1 Q. And what did he say?

2 A Yes. 2 A He did not realize that that was occurring.

3 Q Did you discuss this section of the letter with 3 Q And what was his response to that? Was that

4 anyone? 4 acceptable?

5 A Yes. 3 A He said, "Just let us know what we need to do," not

6 Q Who did you discuss it with? 6 only to get her--Natalie paid properly, but to

7 A I discussed it with Fiona. I discussed it with John 7 prevent it from occurring in the future.

8 Waugh. I discussed it with my Director, Deb 8 Q Did he indicate to you why he didn't want it to

9 Temrowski. 9 occur in the future?
10 Q Anyone else? 10 A Because I told him that it was compensable time and
li A Compensation, the Compensation Department, the 11 we needed to fix it.
12 Payroll Department. There were many different 12 Q Okay, but did he indicate to you why he wanted her
13 moving parts that had to occur in order te look into 13 to get paid in the future, or why he wanted her to
14 back payment. 14 have lunch times in the future?
15 Q Let's go one by one through each of those. So when 15 A Because I told him it was compensable and we had to
16 did you discuss this matter with John Waugh? 16 do it.
7 A. I discussed it with John a couple of--probably about 17 MR. FLYNN: I'm sorry, Counsel. Is there
18 two days after my meeting with Natalie. I teld him i8 anything you would like to say on the record? You
19 that there were some other concerns that were raised i9 are kind of distracting the examination.
20 about Fiona and that F needed to look into those, 20 MR. MIGLIO: Oh, we are? We apologize. |
21 that 1 did not want to speak with Fiona about these 21 was having a private conversation with Counsel here,
22 concems until I had some of the other back 22 so I don't know how it was distracting you.
23 information, specifically in regards to asking that 23 MR. FLYNN: Weil, you know, you're getting
24 she perjure herself in an Unemployment hearing. 24 up. You're talking. It's pretty loud. It's kind
25 So there are things that I had wanted to 25 of distracting, so if you could just--

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1 prioritize first, because obviously Fiona had no 1 MR. MIGLIO: Kind of just what?

2 idea that that is one of the issues that she was 2 MR, FLYNN: Not do it?

3 going to be raising with me. 3 MR. MIGLIO: Well, we've heard all these

4 So if there was validity to that, [ needed 4 questions before, so possibly the reason why we're

5 to find that out. 5 doing other things is because these are the same

6 Q Okay, and so what were the issues with Fiona that é questions you asked to other people, but go ahead.

7 you just mentioned? 7 We'll try and be attentive to what you are

8 A They are all laid out in here, about the performance 8 asking.

9 review, about the meal breaks, not being paid meal 3 MR. FLYNN: I don't really care if you're
10 breaks, about being told that she would be-- 10 attentive, You can zone it out. | just don't want
11 I don’t think she said it in here, but 11 to be bothered by you whispering and carrying about
12 being terminated if she brought it to H.R.'s 12 my deposition.
13 attention, and also about being asked to perjure 13 Q (By Mr. Flynn) Was there any other conversation
14 herself in an Unemployment hearing for Judy Hale 14 with John?
15 (phonetic). 15 A Thad let him know all of the concerns that Natalie
16 Q Se just the issues that are raised in here? 16 had raised, all the four major concerns.
17 A Correct. 1? Q When did you have your initial conversation with
18 Q What did John say about the lunch issue? 18 John?
19 A It was--he said, "Thank you for the status update. 19 A Like I said, it was either a day or two after
20 Keep me posted and let me know what we need to do." 20 Natalie. My recollection is that Natalie came over
21 Q Okay. ai 4:00 or 4:30 on the 20th, and she didn't leave my
22 A Because I touched base with him regularly. 22 office until about 7:00 p.m.
23 Q_ And did you indicate to him that she wasn't being 23 So I didn't follow up with John until the
24 given coverage for lunch periods? 24 following morning.
25 A Yes. 25 Q And were there any conversations thereafter with

37 (Pages 133 to 136}

TAMARA A. O'CONNOR
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